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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   DAVID LEONARD BAKER,                              No. 2:12-cv-01520 DAD P
12                      Petitioner,
13           v.                                        ORDER
14   DARREL G. ADAMS,,
15                      Respondent.
16

17           Petitioner is a state prisoner proceeding pro se with a petition for a writ of habeas corpus

18   pursuant to 28 U.S.C. § 2254. On April 4, 2013, the court dismissed the original petition filed in

19   this court and granted petitioner leave to file an amended petition in order to clarify his claims

20   and explain whether he had exhausted those claims in state court. On May 28, 2013, petitioner

21   filed another form habeas petition in this court. However, other than indicating that the judgment

22   of conviction he is seeking to challenge was entered by the Yolo County Superior Court, the

23   remainder of the amended petition contains only rambling and disjointed statements which do not

24   appear to concern petitioner’s judgment of conviction. The court will grant petitioner leave to file

25   a second amended petition and a final opportunity to comply with the court’s April 4, 2013 order

26   requiring him to clarify the nature of his federal habeas claims.

27           Accordingly, IT IS HEREBY ORDRED that:

28   /////
                                                       1
     Case 2:12-cv-01520-TLN-DAD Document 11 Filed 04/15/14 Page 2 of 2

 1           1. Within thirty days from the service of this order, petitioner shall file a second amended

 2   petition that complies with the requirements of the Federal Rules of Civil Procedure; the second

 3   amended petition must bear the docket number assigned this case and must be labeled “Second

 4   Amended Petition;” petitioner must use the form petition provided by the court and answer each

 5   question, specifically providing information concerning any claims or issues he raised in the

 6   California Court of Appeal and, more importantly, in the California Supreme Court; petitioner’s

 7   failure to file a second amended petition in accordance with this order will result in the dismissal

 8   of this action; and

 9           2. The Clerk of the Court is directed to provide petitioner a copy of the court’s form

10   habeas petition for a state prisoner and a copy of the court’s order filed April 4, 2013 (ECF No.

11   6).

12   Dated: April 14, 2014

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